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UNITED STATES BANKRUPTCY COURT
Middle DISTRICT OF Florida
Orlando DIVISION

IN RE: CASE NUMBER: 18-6821

}
Don Karl Juravin
} JUDGE
}
}

DEBTOR. CHAPTER 11

 

DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
FOR THE PERIOD
FROM February 1, 2020 TO February 29, 2020

  

established by the United States Trustee and FRBP 2015.

Dated: 4 Mf 23

 

f Atiomey for Debtor

Debtor's Address Attorney's Address

and Phone Number: and Phone Number:
[5118 Pendio Drive 1030 N Orange Avenue
Montverde, FL 34756 Suite 300

 

Orlando, FL 32801
Bar No. 173134
Tel. 813-810-5100 _ Tel. 407-294-4440

 

Note: The originaf Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee.
Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
htipvAwww.usdo/.goviust/r2 tired _info.htm.

1) Instructions for Preparation Debtor's Chapter | 1 Monthly Operating Repon

2) Taitial Filing Requirements

3) Frequently Asked Questions (FAQs)

 

 
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SUMMARY OF CASH RECEIPTS AND CASE DISBURSEMENTS

 

Case Name: Don K. Juravin

 

Case Number: 18-06821

 

Note: The information requested balow Is a summary of the information reported tha various Schedules and Attachments contained within this repc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Month Cumulative
2/29/2020 sora

CASH- Beginning of Monti (Household) 8,851 ' { 5 0.00
CASH- Beginning of Month (Business) 4,084, 1 5 S94.10
Total Houschoid Receipts 31 5975.85 158,606.67
Tatal Business Receipts 42,679. 85 240,781.04
Total Receipts 74,655.70 399,387.71
Total Household Disbursements 2/, 1 46.51 144,926. 18
Total Business Disbursements 39,650 2 234,558. 86
‘Fotal Disbursements 66,797.23 379,485,04
NET CASH FLOW (Total Receipts minus Total Disbursements} 7,858.47 19,902.67
CASH- End of Month (Individual) 13,680.49 13,680.49
7,113.28 7,113.28

 

CASH- End of Month (Business)

 

 

 

CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES

 

 

 

 

 

 

 

TOTAL DISBURSEMENTS (From Above) 66,797.23 379,485.04
Less: Any Amounts Transferred or Paid from the Business Account to the 80,553.38

Household Account (Le, Salary Paid to Debtor or Owner's Draw) (35 : 61 3.00) ( , )

DISBURSEMENTS FOR U.S. TRUSFEE FEE CALCULATION | 31,184.23) 298,931.66

 

 

T declare under penalty of perjury that this statement and the accompanying documents and reports are true and correct to te best of

my knowledge and belief

This day of 20

 

Debtor's Signature

Monthly Operating Report - Indivduat

 

 

 

 
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SCHEDULE OF HOUSEHOLD
CASH RECEIPTS AND CASH DISBURSEMENTS
Month Cumulative
2/29/2020 Total

CASH - Beginning of Month 8,851.15 0.00
CASH RECEIPTS

Salary or Cash from Business 29,475.34 113,789.51

Wages from Other Sources (attach list to this report)

Interest or Dividend Income 0.51 2.29

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report) 2,500.00 10,500.00

Other (specify) (attach list to this report) 34,314,91
TOTAL RECEIPTS 31,975.85 158,606.67
CASH DISBURSEMENTS

Alimony or Child Support Payments

-Charitable Contributions 1,400.00 4,400.00

Gifts

Household Expenses/Food/Clothing 269,04 14,478.89

Household Repairs & Maintenance 4,590.00

Insurance 4,771.06 20,773.12

IRA Contribution

Lease/Rent Payments

Medical/Dental Payments 210.00

Mortgage Payments) 14,480.00 26,480.00

Other Secured Payments

Taxes - Personal Property

Taxes - Real Estate 17,294.83

Taxes Other (attach schedule)

Travel & Entertainment 1,294.86 2,017.91

Tuition/Education

Utilities (Electric, Gas, Water, Cable, Sanitation) 2,431.55 5,969.13

Vehicle Expenses

Vehicle Secured Payment(s)

U.S. Trustee Quarterly Fees 650.00

Professional Fees (Legal, Accounting}

Other (attach schedule} 37,562.30

Loans 2,900.00 10,500.00

Total Household Disbursements 27,146.51 144,996.18
CASH - End of Month (Must equal reconciled bank statement- 13,680.49 13,680.49

 

Attachment No. 2)

 

 

 

Monthly Operating Report - Individuat

 

 
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SCHEDULE OF BUSINESS

CASH RECEIPTS AND CASH DISBURSEMENTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attachment No. 2}

 

 

. Month Cumulative
Must Cure Obesity Co. 3755720 Total

CASH - Beginning of Month 14.26 414.33

BUSINESS CASH RECEIPTS
Cash Sales 20,050.00 92,150.00
Account Receivable Collection
Loans/Borrowing from Outside Sources (attach list to this report) 14,472.20
Rental Income
Sale of Business Assets (attach list to this report}

Other (specify) (attach list to this report) 1,064.00
Total Business Receipts 20,050.00 107,686.20
BUSINESS CASH DISBURSEMENTS

Net Payroll (Excluding Self)

Aeon to Debtor or Owner's Draw (e.g., transfer to Household 14,237.67 70,978.67
Taxes « Payroll 3,875.33 3,875.33
Taxes - Sales
Taxes Other (attach schedule)

Contract Labor (Subcontractors)

Inventory Purchases

Secured/Lease Payments (Business)

Utilities (Business)

Insurance 20.00

Vehicle Expenses 6,599.80

Travel & Entertainment 182.21

Repairs and Maintenance

Supplies 13.07 2,443.80

Charitabie Contributions/Gifts

Purchase of Fixed Assets

Advertising 4,849.84

Bank Charges 113.00

Other (attach schedule) 17,099.69
Total Business Disbursements 18,126.07 106,162.34
CASH - End of Month (Must equal reconciled bank statement - 1,938.19 1,938.19

 

 

Monthly Operating Report - Individual

 

 
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SCHEDULE OF BUSINESS
CASH RECEIPTS AND CASH DISBURSEMENTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attachment No. 2)

 

 

: Month Cumulative
Juravin Incorporated 5735/2020 Total
CASH - Beginning of Month 2,501.08 352.22
BUSINESS CASH RECEIPTS

Cash Sales 20,000.00 54,300.00

Account Receivabie Collection

Loans/Borrowing from Outside Sources {attach list to this report) 2,900,00 39,050,00

Rental Income

Sale of Business Assets (attach list to this report)

Other (specify) (attach list to this report) 129,85 38,194.84
Total Business Receipts 22,629.85 108,914.99
BUSENESS CASH DISBURSEMENTS

Net Payroll (Excluding Self}

Salary Paid to Debtor or Owner's Draw (e.g., transfer to Household 17,500,00 32,551.34
Account)

Taxes - Payroll

Taxes - Sales

Taxes Other (attach schedule}

Contract Labor (Subcontractors)

Inventory Purchases
Professional Fees (Legal, Accounting) 2,000.00 2,000.00

Utilities (Business) 419,59 510.58

Insurance

Vehicle Expenses

Travel & Entertainment 1,535.06 1,653,414

Repairs and Maintenance

Supplies

Charitable Contributions/Gifts

Purchase of Fixed Assets

Advertising 50.00 18,803.26

Bank Charges 10.00 63.00

Other (attach schedule) 72,699.52
Total Business Disbursements 21,514.65 128,280.78
CASH - End of Month (Must equal reconciled bank statement - 3,616.28 3,616.28

 

 

Monthly Operating Report - Individual

 

 
 

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SCHEDULE OF BUSINESS

CASH RECEIPTS AND CASH DISBURSEMENTS

 

First Global Health Corporation

Moath

 

2/29/20

Cumulative
Total

 

CASH - Beginning of Month

1,5

68.81

124.55

 

 

BUSINESS CASH RECEIPTS

 

Cash Sales

 

Account Receivable Collection

 

Loans/Berrowing from Outside Sources (attach list te this report)

[500,00

 

Rentai Income

 

Sale of Business Assets (attach list to this report)

 

Other (specify) (attach list to this report)

50.00

 

 

Total Business Receipts

1,550.00

 

 

BUSINESS CASH DISBURSEMENTS

 

Net Payroll (Excluding Self}

 

Salary Paid to Debtor or Owner's Draw (e.g., transfer to Household
Account)

 

Taxes - Payroll

 

Taxes - Sales

 

Taxes Other {attach schedule)

 

Contract Labor (Subcontractors)

 

Inventory Purchases

 

Secured/Lease Payments (Business)

 

Utilities (Business)

 

Insurance

 

Vehicle Expenses

 

Travel & Entertainment

 

Repairs and Maintenance

 

Supplies

 

Charitable Contributions/Gifts

 

Purchase of Fixed Assets

 

Advertising

 

Bank Charges

10.00

115,74

 

Other (attach schedule)

 

 

Total Business Disbursements

10.00

115.74

 

 

CASH - End of Month (Must equal reconciled bank statement -
Attachment No. 2)

 

4,5

58.81

 

1,558.81

 

Monthiy Operating Report - Individual

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 1
INDIVDUAL
QUESTIONNAIRE
Y¥ES* NO

l. Have any assets been sold or transferred outside the nonnal course of business during this x

reporting period?
2. Have any funds been disbursed from any account other than a debtor in possession account? x
3. Are any post-petition receivables (accounts, notes, or loans} due from any relatives,

insiders, or related party? x
4. Have any payments been made on pre-petition liabilities this reporting period? Xx
5. Have any post-petition loans been received by the debtor ftom any party? x
6. Are any post-petition payroll taxes past due? x
7. Are any post-petition state or federal income taxes past due? x
Are any post-petition state or local sales taxes past due? x
9, Are any post-petition real estate taxes past due? x
10. Are any amounts owed to post-petition creditors/yendors delinquent? x
1[. Are any wage payments past due? x

*If the answer to any of the above questions is "VES," provide a detailed explanation of each item on a separate sheet,
INSURANCE INFORMATION
YES NO*

1. Ave real and personal property, vehicte/auto, general liability, fire, theft, worker's a

compensation, and other necessary insurance coverages in effect?
2. Areal premium payments current? x

 

 

 

 

 

*Tf the answer to any of the above questions is "NO," provide a detailed explanation of each ftem on a separate sheet.

CONFIRMATION OF [INSURANCE

Payment Amount Delinquency
TYPE of POLICY and CARRIER Period of C and ¥ Amount

      

Check here if United States Trustee has been aac on of insurance.

 

DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD;

Estimated Date of Fiting the Plan of Reorganization and Disclosure Statement:

 

 

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 2
INDIVIDUAL

BANK ACCOUNT RECONCILIATIONS

 

Bank Account Information

 

 

 

Account Account Account Account
#1 #2 #3 #4
Name of Bank: TD Bank TD Bank TD Bank TD Bank
Account Number: 434-5481107 | 434-5481735 | 434-5480802 | 436-7787153
Personal Business Business Business

Purpose of Account (Business/Personal)

 

Type of Account (e.g, checking) Checking Checking Checking Checking

 

 

 

 

 

 

 

 

 

 

1. Balance per Bank Statement 15,819,02 1,938.19 3,616.28 1,558.81

2, ADD: Deposits not credited (attach list to this report) 16,975.34

3, SUBTRACT: Outstanding Checks (attach fist) 19,113.87

4, Other Reconciling Items (attach list to this report)

5, Month End Balance (Must Agree with Books) 13,680.49 1,938.19 3,616.28 1,558.81
TOTAL OF ALL ACCOUNTS g 20,793.77

 

 

 

 

 

Note: Attach a copy of the bank statement and bank reconciliation far each account.

vestment Account Information

Date ef Type of Purchase Current
Bank / Account Name / Number Purchase Instrument Price Value

 

Note: Attach a copy of each investment account statement.
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 3A
INDIVIDUAL

CASH DISBURSEMENTS DETAILS - HOUSEHOLD

Name of Bank

Account Number

Purpose of Account
ype of Account (e.g., C

435-5481107
erson

Cc.

Number | Check Amount

rsement o
ursemen

 

If any checks written this period have not been delivered to the payee, provide detalls, including the payee, amount, explanation for
holding check and anticipated delivery date of check,

 

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 3B
INDIVIDUAL

CASH DISBURSEMENTS DETAILS - BUSINESS

e of Bank TD - Must Cure
Number 434-5481735
u of Account (Business OPERATING
T of Account (e.g., Checking

Number | Check . Amount

 

TOTAL

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO, 3C
INDIVIDUAL

CASH DISBURSEMENTS DETAILS - BUSINESS

ame of Bank TD
nt Number
of Account (Business
T of Account (@.g.,

 

Number | Check

ternet tenan

   

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation fer
halding check and anticipated delivery date of check.

  
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 3D
INDIVIDUAL

CASH DISBURSEMENTS DETAILS - BUSINESS

ame of Bank B

- First Glo e Co
Account Number

-7787153
ra

Purpose of Account s
ype of Account (e.g., Checki

Number | Check Pu or Descri

 

if any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
halding check and anticipated delivery date of check,

 

 
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ATTACHMENT NO. 4

 

Case 6:18-bk-06821-KSJ Doc 344
MONTHLY OPERATING REPORT -
INDIVIDUAL
ACCOUNTS RECEIVABLE RECONCILIATION Scheduled Current Month
(Pre- & Post- Petition) Amount

 

 

Accounts Receivable Beginning Balance

 

Pius: Billings During the Month

 

Lass: Collections During the Month

 

Adjustments or WriteOffs*

 

 

 

Accounts Receivable Ending Balance**

 

 

 

eduled
Amount

COUNTS RECEIVABLE AGING
& Post- Petition

0-30
31-60
{ - 90

$0

otal Accounts Receivable**
* Attach explanation of any adjustment or writeoff.

** The "current month" of these two lines must equal.

Beginning
POST-PETITION TAXES Tax

Taxes
Withholding**
FICA -

FICA -

Income
Other

otal Federal Taxes

& Local Taxes
Withhold
Sales
U
Real
Personal P
Other List

Total State & Local Taxes
Total Post-Petition Taxes

 

 

Amount
Withheld &
or Accrued

* The beginning tax liability should represent the liability fram the prior month, or if this is the first report, the amount should be zero
** Attach copies of IRS Form 6123 or your FTD coupon and payment recaipt to verify payment or deposit

 

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 5
INDIVIDUAL

TION (Post-Patition

Balance*
Pius: New Indebtedness the Month
Less: Amount Paid on Acct, in Month
or WriteOffs**

Ending Balance

 

* The beginning A/P Itabillly should represent the liability from the prior month, or if this Is the frst report, the amount should be zero
**Attach explanation for any adjustment or write-off.

ali bills or inveices Incurred since the of the and hava NOT been

Vendor & of Billnvoice Incurred
= S
oO nses
e

 

 

|
|

 

*** List any additlonai payables on a separate sheet end attach to this schedule.

 

POST-PETITION STATUS OF SECURED NOTES, LEASES, AND ADEQUATE PROTECTION PAYMENTS

Scheduled Total Past Due Total Number
Monthly Payment From Prior Amount Paid | Total Unpaid of Payments
Name of Secured Creditor { Lessor Due Month(s) During Month {| Postpetition Past Due

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Bank

 

DON KARL JURAVIN

DIP CASE 18-06821 MFLO
15118 PENDIO DR
MONTVERDE FL 34756-3606

Chapter 11 Checking

DON KARL JURAVIN
DIP CASE [8-06821 MFLO

America’s Most Convenient Bank® EB

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STATEMENT OF ACCOUNT

Page: 1 of 3
Statement Period: Jan 18 2020-Feb 17 2020
Cust Ref #: 4345481107-039-E-***

Primary Account #: 434-5481107

Account # 434-5481107

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 18,523 65 Average Collected Balance 11,213.53
Deposits 9,086.96 interest Earned This Period 0.00
Electronic Deposits 45,000.51 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Electronic Payments 26,792.10 Days in Period 34
Ending Balance 15,819.02
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
01/27 DEPOSIT 8,000.00
04/27 DEPOSIT 1,086.96
Subtotal: 9,086.96
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
02/07 CCD DEPOSIT, MEDIUM.COM MEDIUM.COM ST-Q8W3H214Y7U0 0.51
02/07 eTransfer Credit, Online Xfer 10,000.00
Transfer from CK 4345480802
0a2/07 eTransfer Credit, Online Xfer 5,000.00
Transfer from CK 4345480802
Subtotak: 15,000.51
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
01/21 ELECTRONIC PMT-WEB, LAKE COUNTY TAX COLL. 6640422 17,294.83
01/21 DEBIT CARD PURCHASE, *****30057969529, AUT 011620 VISA DDA PUR 212.89
FUN SPOT AMERICA ORLANDO ORLANDO * EL
01/21 DEBIT CARD PURCHASE, *****30057969529, AUT 011620 VISA DDA PUR 172.47
ADIDAS 6110 ORLANDO * FL
01/21 DEBIT CARD PURCHASE, *****30057969529, AUT 011620 VISA DDA PUR 30.34
SWEET TOMATOES 72 Q14 ORLANDO *FL
01/22 DEBIT CARD PURCHASE, *****30057969529, AUT 012020 VISA DDA PUR 48.96
OAK RIDGE GUN RANGE ORLANDO * PL
01/31 eTransfer Debit, Online Xfer 4,000.00
Transfer to CK 4345480802
02/03 DEBIT CARD PURCHASE, *****30057969529, AUT 013120 VISA DDA PUR 4,200.00

PAYPAL GRASSHOPPER

402 935 7733 * CA

Call 1-800-837-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TD Bani, 8.A.| Equaf Housing Lender [Siy
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How to Balance your Account page: 2 of 3

Begin by adjusting your account register 4 Your ending balance shown on this

as follows: statement is:

Subtract any services charges shown
on this statement. 2,

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have 3, Subtotal by adding lines | and 2.

an interest-bearing account.

4, List below the total amount of
withdrawals that do not appear on
this statement, Total the withdrawals
and enter on Line 4.

Add any automatic deposit or
overdraft line of credit.

Review ail withdrawals shown on this
statement and check them off in your

account register, s, Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your

ending account balance. balance.

@ @

DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT

ON STATEMENT ON STATEMENT

 

 

 

 

 

 

 

 

 

Total Deposits|:.- ~

@

 

FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

IF you need Information about an electronic fund transfer or if you believe there is an
error on your bank statement or recelpt relating to an electronic fund transfer,
telephone tha bank immediately at the phane number ilsted on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statament upon which the error or prablem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed, Please include:

* Your name and account number,

+ Adascription of the error or transaction you are unsure about.

* The dollar amount and date of the suspected error.
When making a verbal Inquiry, the Bank may ask that you send us your complaint in
writing within ten {10} business days after the first telephone call.
We will investigate your complaint and will correct any error promptly, If we take more
than ten (10) businass days to do this, we will credil your account for the
amount you think is in error, so that you have the use of Ihe money during the time it
takas to complete our investigation.

INTEREST NOTICE

Tatal interest crediled by the Bank fo you this year will he reported by the Bank to the
intemal Revenue Service anc State tax aulhorifes. Tha amaunt to be reported will be
reported separately to you by the Bank.

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

balance should equal your account

 

48,819.02 |

    

 

   

“Totals
2 Deposits |

  

WITHDRAWALS NOT} OOLLAAS CENTS
ON STATEMENT

DOLLARS CENTS

 

 

 

 

 

 

 

    

Total.
‘Withdrawals -

 

 

 

 

FOR CONSUMER LOAN ACCOUNTS ONLY — SILLING RIGHTS
SUMMARY

In case of Errors or Questions Abaut Your Bill:

If you think your bill is wrang, or if you need more information abaul a transaction on
your bill, write us al P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible, We must hear fram you no later than sixty (60) days afler we sent you the
FIRST bi# on which the emor or prablern appeared. You can telephone us, but doing
$o Will not praserva your rights, In your Eatter, give us the following infomation:

+ Your name and account number.

* The dolar amount of tha suspected error.

* Deseribe tha error and explain, if you can, why yau believe there is an error,

If you need more information, dascribe the item you are unsure about,

You do not have to pay any amount in question while we are investigating, bul you
are stili obligated to pay the parls of your bil Ihat ara not in question. Whila we
Investigate your question, we cannot repart you as delinquent or take any action to
collect the amaunt you question.

FINANCE CHARGES: Although the Bank uses the Daily Balance methad to calculate
ihe finance charga on your Moneyline/Overdraft Protection account (lhe tem "ODP"
or "OD" refers ta Ovareraft Protection), the Bank discloses the Average Daily Balance
on tha periodic statement as an easier method far yau to calculate the finance
charge, The finance charge begins to accrue on the date advances and other debils
are posted to your accounl and will continue unif the balance has beer paid in full
Ta compute the finance charge, multiply the Average Dally Balance limes the Days In
Period times the Daily Periodic Rate (as listed In the Account Summary section on

ne front of the statament), The Average Daily Balance is calculated ay adding the
balance for each day of the tiling cycle, ihen dividing the total balance by the number
of Days in the Billing Gyole. The daily balance is the balance for the day after
advances hava been added and payments or credits have been subtracted plus or
minus any other adjustments that might have accurred that day, Thera is ne graca
Peried during which no finance charge accrues. Finance charge adjustments ara
included In yaur total finance charge,

 

 

 
 

Case 6:18-bk-06821-KSJ Doc 344

Bank

America’s Most Convenient Bank®

STATEMENT OF ACCOUNT

DON KARL JURAVIN

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DIP CASE 18-06821 MFLO Page: 3 of 3
Statement Period: Jan 18 2020-Feb 17 2020
Cust Ref #: 4345481107-039-E-*

Primary Account #:

434-5481107

 

DAILY ACCOUNT ACTWITY
Electronic Payments (continued)

 

 

POSTING DATE DESCRIPTION AMOUNT

02/03 DEBIT CARD PURCHASE, *****30057969529, AUT 020220 VISA DDA PUR 460.06
GOOGLE GSUITE JURAVIN CC GOOGLE COM* CA

02/03 DEBIT CARD PURCHASE, *****30057969529, AUT 020220 VISA DDA PUR 48,06
CHILI S CLERMONT CLERMONT *FL

02/03 DEBIT CARD PURCHASE, *****30057969529, AUT 020220 VISA DDA PUR 36.00
GOOGLE GSUITE JURAVIN INTERNET *CA

02/03 DEBIT CARD PURCHASE, *****30057989529, AUT 0413020 VISA DDA PUR 17.00
SUSHI STORM CLERMONT *FL

02/04 DEBIT CARD PURCHASE, *****30057969529, AUT 020320 VISA DDA PUR 40.00
IN KEVIN EDMEADE CLERMONT *FL

02/05 ACH DEBIT, DBUKEENERGY-FL CUST BILLS ****625051 664.00

02/05 DEBIT GARD PURCHASE, *****30057969529, AUT 020320 VISA DDA PUR 30.00
APPLEBEES 144 98377369 CLERMONT *FL

02/07 etransfer Debit, Online Xfer 600.00
Transfer to CK 4363085527

02/10 DEBIT CARD PURCHASE, *****30057969529, AUT 020820 VISA DDA PUR 55.00
THA] BLOSSOM RESTAURANT WINTER GARDEN * FL

02/40 DEBIT CARD PAYMENT, *****30057969529, AUT 020720 VISA DDA PUR 14.59
TWITTER ONLINE ADS 415 2229670 *CA

02/16 DEBIT CARD PAYMENT, *****30057969529, AUT 020920 VISA DDA PUR 6.39
TWHTER ONLINE ADS 415 2229670 *CA

02/11 ACH DEBIT, AM GEN LIFE INS ONLINE PMT CKF****74184NEG 4,771.06

02/13 DEBIT CARD PURCHASE, *****30057969529, AUT 021220 VISA DDA PUR 10.99
PRIME VIDEO 5Q73U64/3 888 802 3080 * WA

o2h4 DEBIT CARD PURCHASE, *****30057969529, AUT 021320 VISA DDA PUR 131.55
GOOGLE GOOGLE FI G CO HELPPAY * CA

02/14 DEBIT CARD PURCHASE, *****30057969529, AUT 021320 VISA DDA PUR 8.00
ECONOMY PARK RIDE MIA DORAL *FL

Subtotal: 26,792.10

DAILY BALANCE SUMMARY

DATE BALANCE DATE BALANCE

O17 18,523.65 02/05 6,416.09

01/21 813.15 02/07 20,816.60

01/22 764.19 02/40 20,740.62

01/27 9,851.15 02/11 15,969.56

01/34 8,851.15 02/13 15,958.57

02/03 7,150.09 02/14 15,819.02

02/04 7,110.09

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TD Bank, N.A,| Equal Housing Lender {Sy

 

 

 

 
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Case 6:18-bk-06821-KSJ Doc 344

 

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Bank
America’s Most Convenient Bank® E STATEMENT OF ACCOUNT
MUST CURE OBESITY CO Page:

DIP CASE 20-00024 MFLT

#51718 PENDIO DR Cust Ref #:

MONTVERDE FL 34756

Chapter 11 Checking

MUST CURE OBESITY CO
DiP CASE 20-00924 MELT

Statement Period:

Primary Account #:

tof3
Feb 01 2620-Feb 29 2020

4345481735-039-E.***

434-5481735

Account # 434-5481735

 

 

 

 

 

 

AGCOUNT SUMMARY
Beginning Balance 14.26 Average Collected Balance 3,252.50
Deposits 20,000.00 interest Earned This Period 0.00
Electronic Deposits 50.70 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Electronic Payments 18,126.77 Days in Period 29
Ending Balance 1,938.19
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
02/21 DEPOSIT 20,000.00
Subtotal: 20,000.00
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
02/07 eTransfer Credit, Online Xfer 50.00
Transfer from CK 4345480802
02/25 CCD DEPOSIT, PAYROLL CENTER PAYROLLVER 26593 0.70
Subtotal: 50.70
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
02/06 DEBIT CARD PAYMENT, AUT 020520 VISA DDA PUR 13.07
AMAZON PRIME XH83F6VE3 AMZN COM BILL * WA
40854040148481691
02/25 eTransfer Debit, Online Xfer 14,237.67
Transfer to CK 4345481107
02/25 eftransfer Debit, Online Xfer 237,67
Transfer to CK 4345481107
02/25 CCD DEBIT, PAYROLL CENTER PAYROLLVER 26593 0.44
02/25 CCD DEBIT, PAYROLL CENTER PAYROLLVER 26593 0.26
02/26 CCD DEBIT, PAYROLL CENTER PAYROLLTS 26593 1,839.83
02/26 CCD DEBIT, PAYROLL CENTER PAYROLLTS 26593 1,797.83
Subtotal: 18,126.77

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.idbani.com

Bank Deposits FDIG Insured | TD Sank, N.A.| Equal Housing Lender (J
Case 6:18-bk-06821-KSJ Doc 344 _ Filed 05/01/20

How to Balance your Account

Begin by adjusting your account register
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account,

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

i

2.

Your ending balance shown on this
statement is:

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2,

. Subtotal by adding Hines 1 and 2.

. List below the total amount of

withdrawals that do not appear on
this statement, Total the withdrawals
and enter on Line 4,

Page 20 of 26

 

  

Page: 2 of 3
Deo cl
oo Ending” 4,938.19.

Balance... Bo

  

 

 

“Total 7 ¥
“Deposits

 

 

5. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.
DEPOSITS NOT DOLLARS | CENTS WITHDRAWALS NOT! DOLLARS | CENTS
ON STATEMENT ON STATEMENT

 

 

 

 

 

 

 

Total Deposits : :

@

 

 

 

FOR CONSUMER ACCOUNTS ONLY — IN GASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you nead information about an ejactronic fund lransfer or if you belleve there is an
error on your bank statement or receipt relating to an electranie fund transfer,
telephone the bank immediately at the phane number listed on the front of your
statement or write to:

TD Bank, NLA,, Deposit Operations Bept, P.O. Box 4377, Lewiston,
Maine 04243-1377
We must hear from you ne later than sixty (60) calendar days after we sent you the
first statement upon which the error ar problem first appeared, When contacting the
Bank, please explain as clearly as you can why you believe there is an errar or why
more infarmation is needed. Please include:

> Your name and account number.

+ Adescription of the error or transaction you are unsure about,

* The dollar arnount and dale of the suspected error.
Whan making a verbal inquiry, the Bank may ask that you send us your complaint ta
writing within tan (10) business days after the first telaphane call.
We wil investigate your complaint and will correct any error promptly. if we take more
than ten (10) business days to do this, we will credit your accaunt for the
amount you think is in error, so that yau have the use of the money during the time it
takes to complete our Investigation.

INTEREST NOTICE

Tatal interest crediled by the Bank to you this yaar will be reported by the Bank to the
Internal Revenue Service and State tax authoritias. The amount to be reported will be
reperted separately to you by tha Bank.

 

© pajusted
__. Balance =.

 

CENTS

WITHDRAWALS NOT| DOLLARS

ON STATEMENT

 

 

 

 

 

 

 

 

Tota
‘Withdrawals

 

 

 

 

 

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
SUMMARY

in case of Crrars or Questions About Your Bill:

if you think your bill is wrong, or if you need more information about a transaction on
your bill, write us at P.O. Box 4377, Lewiston, Maine 04243-1377 as saan as
possible. Wa must hear from you no later than sixty (60) days after we sant you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserva your rights, In your lelter, giva Us the following infomation:

+ ‘Your name and account number.

* The dollar amount of the suspected errar.

* Daseribe the error and explain, if you can, why you believe thera is an error.

If you need more informalion, describe the item you ere unsure about.

You do not have to pay any amount in question while we are investigaling, but you
are still obligated te pay the paris of your bill that are not in question, While we
investigate your question, we cannot report you as delinquent or lake any action to
collect the amount yau question.

FINANCE CHARGES: Alihough the Bank uses the Daily Balance melhed to caiculate
the finance charge on your Moneyline/Ovardraft Protection accaunt {the term "ODP"
or "OD" refers io Overdraft Protectian), the Bank discloses the Averaga Daily Balance
on the periodic statement as an easier methad for you to calculate the finance
charge. The finance charge begins te accrue on the date advances and other debits
are posted ta your accaunt and will continue until tha balance has been paid In full.
To compute the finance charga, mulliply ihe Average Daily Balance timas the Days in
Period times tha Daily Pariodic Rate (as listed in the Account Summary section on
tha frant of ihe statement). The Average Oaily Balance fs calculated by adding the
balance for each day of the billing eyela, then dividing the total balance by the number
of Days in the Billing Cycle, The daily bafance is the balance far the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have accurrad that day. There is no grace
period during which na finance charge accrues. Finance charge adjustments are
included in your tola! financa charge.
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Bank
America’s Most Convenient Bank® STATEMENT OF ACCOUNT
MUST CURE OBESITY CO
DIP CASE 20-00924 MFLT Page: Sof 3
‘ Statement Periad: Feb 01 2020-Feb 29 2020
Cust Ref #: 4345481735-039-E-***
Primary Account #: '  434-5481735

 

DAILY BALANCE SUMMARY

 

OATE BALANCE DATE BALANCE
01/31 14,26 02/24 20,051.19
02/06 1.19 02/25 5,575.85
02/07 51.19 02/26 1,938.19

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FOIC Insured | TD Bank, N.A. | Equal Housing Lendar
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Bank

America’s Most Convenient Bank® B STATEMENT OF ACCOUNT

 

JURAVIN INCORPORATED Page: 1 of 4
15118 PENDIO DR Statement Period: Feb 01 2020-Feb 29 2020
MONTVERDE FL 34756 Cust Ref #: 4345480802-7 13-E-***

Primary Account #: 434-5480802

Debit Card International Transaction Fee

in your previous deposit account statement, we provided a notice of upcoming account changes, Please note the following
corrected information about the International transaction fee assessed for debit card use: Effective after March 15, 2020, an
international transaction fee for TD debit and ATM cards will be assessed when you use a non-TD ATM located outside the US.
or make a purchase from a merchant outside the U.S. This fee applies whether you're physically located inside or outside the
U.S. If you have any questions or want to find out more about this fee or other information included in your previous deposit
statement, visit tdbank.com, call us at 1-800-493-7562 and choose option 0, then option 2 or stop inta a TD lacation near you.

TD Business Simple Checking

 

 

JURAVIN INCORPORATED Account # 434-5480802

ACCOUNT SUMMARY

Beginning Balance 2,507.08 Average Collected Balance 4,944,274

Deposits 26,000.00 interest Earned This Period 0.00

Electronic Deposits 2,629.85 interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%

Electronic Payments 21,504.65 Days in Period 29

Service Charges 10.00

Ending Balance 3,616.28

 

DAILY ACCOUNT ACTIVITY

 

 

 

 

Deposits
POSTING DATE DESCRIPTION AMOUNT
02/05 DEPOSIT 26,000.00
Subtotal: 20,000.00
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
02/27 DEBIT CARD CREDIT, AUT 022720 VISA DDA REF 129.85
NEW SOUTHERN RAILW GATWICK 5989 GBR
4085404018650923
02/28 eTransfer Credit, Online Xfer 2,500.00
Transfer from CK 4345481107
Subtotal: 2,629.85
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
02/03 DEBIT CARD PURCHASE, AUT 013120 VISA DDA PUR 2,000.00
ROBINSGN LAW OFFICE PLLC 727 5436798 * FL
408540401 8650923
02/07 eTransfer Debit, Online Xfer 10,000.00
Transfer to CK 4345481107
02/07 eTransfer Debit, Online Xfer 5,000.60

Gall 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.idbank.com

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|
Transfer to CK 4345481107
|
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Bark Deposits FDIC Insured | TD Gank, N.A.{ Equad Housing Lender tf |
Case 6:18-bk-06821-KSJ Doc 344 _ Filed 05/01/20

How to Balance your Account

Begin by adjusting your account register
as follows:

Subtract any services charges shown

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Your ending balance shown on this
statement is:

. List below the amount of deposits or

Page 24 of 26

20f4

 

 

   

 

  

 

 

on this statement. 2
; credit iransfers which do not appear i ra
Subtract any enlomatie baymens on this statement. Total the deposits Total
ANSters or Oller electronic wi and enter on Line 2, =» Deposits
drawals not previously recorded, ee
Add any interest earned if you have 3. Subtotal by adding lines | and 2.
an interest-bearing account,
. . Li :
Add any automatic deposit or 4. ist below the total amount of
overdraft line of credit withdrawals that do not appear on
this statement, Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register. 5, Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account oN
ending account balance. balance. Adjusted
Bala CO eemaememeenenn
@ @
DEPOSITS NOT DOLLARS | CENTS WITHDRAWALS NOF| DOLLARS | CENTS WITHDRAWALS NOTf DOLLARS | CENTS
ON STATEMENT ON STATEMENT ON STATEMENT

 

 

 

 

 

 

 

@

Total Deposits

 

 

 

FOR CONSUMER ACCOUNTS ONLY —~ IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIG FUNDS TRANSFERS:

It you need information about an electronic fund transfer or if you believe there is an
eirer on your bank statement or receipt relating to an electronic fund transfer,
telaphene the bank immediately at the phone number Hsted on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from yau no tater than sixty (60) calendar days aflar we sent you the
first statement upon which the error or problem first appeared, When contacling the
Bank, please explain as clearly as you can why you beliave there is an error or why
more information is needed, Please include:

« Your name and account number.

» A description of the error of transaction you are unsure about.

+ The dollar amount and date of lhe suspected error.
When making @ verbal inquiry, lhe Bank may ask that you send us your complaint in
writing within ten (10) business days afer the first telephone call.
We wil investigate your complaint and will correct any error promptly. If we take more
than ten (10) business days to de this, we will credit your account for the
amaunt you think is in error, so that you have the use of the money during the Emeit
takes te complete our Investigation.

INFEREST NOFEICE

Total interest credited by the Bank to you this year will ba reported by the Bank ta the
Internal Revenue Service and State tax authorities. The amount to ba reported wil be
reported separately ta you by the Bank.

 

 

 

 

 

 

 

 

   

Total |
‘Withdrawals: |.’

 

 

 

 

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
SUMMARY

in case of Errors of Quaslions About Your Bil:

If yeu think your bill is wrong, or if yau need mora infermation abaut a transaction an
your bill, write us at P.O. 8ox 1377, Lawlston, Maine 04243-4377 as soon as
possible, We must hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or prablem appeared, You can telephone us, but doing
so will not preserva your rights, In your ietter, give us the following informatian:

+ Your name and account number.

+ The dojlar amount of the suspected errar.

+ Describe the error and expiain, if you can, why you believe there is an error,

If you need more information, describe the item you are unsure about.

You do net have to pay any amountin question while we ara investigaling, but you
are stil obligated to pay lhe paris of your bili that are not in question. While we
investigate your question, we cannol reporl you as delinquent o7 take any action to
collect the amount you quastian.

FINANCE CHARGES: Although the Bank uses the Daily Balance meihed to calculate
the finance charge on your Monayline/Overdraft Protection account (the term “ODP*
or "OD" refers to Overdraft Protection}, the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charga. The finance charge begins to aceme on the date advances and other debits
are posted to your account and will continua until tha balance has been paid in full.
To compute the finance charge, multiply the Average Dally Balance limes the Days In
Period times the Daily Periadie Rate {as fisted in the Account Summary section on
the front of the statement}. The Average Daily Balance is calculated ny adding the
balance for each day of the bling cycla, then dividing the total balance by the aumber
of Days in the Billing Cycle, The daily balance is the batance for the day after
advances have bean added and payments or credits have been subtracted plus or
minus any other adjustments thai might have occurred that day. Thara is no grace
period during which no finance charge accrues. Finance charge adjusimants ara
included in your total finance charga,

 

 

 

 
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Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

 

JURAVIN INCORPORATED

 

 

Page: sof4
Statement Period: Feb 01 2020-Feb 29 2020
Cust Ref #: 43454 80802-7 13-E-***
Primary Account #: 434-5480802
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION ANOUNT
02/07 eTransfer Debit, Online xfer 50.00
Transfer to CK 4345481735
02/13 DEBIT POS, AUT 024320 DDA PURCHASE 51.83
SHELL SERVICE S OAKLAND *FL
408540404 8650923
02/14 DEBIT POS, AUT 021320 DDA PURCHASE 58.73
SHELL SERVICE S SAINT CLOUD *FL
408540401 86509823
02/14 DEBIT CARD PURCHASE, AUT 021320 VISA DDA PUR 45,00
ETZEL ITZIK MIAMI * FL
4085404018650923
02/18 DEBIT CARB PURCHASE, AUT 027420 VISA DDA PUR 197.93
GOGGLE GOOGLE FI INTERNET *CA
4085404018650923
02/20 DEBIT POS, AUT 022020 DDA PURCH W/CB 81.93
PUBLIX CLERMONT  *FL
408540401 8650923
02/21 efransfer Debit, Online Xfer 2,500.00
Transfer to CK 4345484167
02/21 DEBIT POS, AUT 022120 DDA PURCHASE 32.16
SHELL SERVICE S SAINT CLOUD * FL
4085404018650923
02/21 DEBIT CARD PURCHASE, AUT 022020 VISA DDA PUR 26,00
KEKES BREAKFAST CAFE 352 3940956 * FL
4085404018650923
02/24 DEBIT CARD PURCHASE, AUT 022220 VISA DDA PUR 221.66
LIQUID WEB LLC 800 5804985 * MI
4085404018650923
02/26 NONTD ATM DEBIT, AUT 022626 DDA WITHDRAW 455.89
ICE GATWICK AIRPORT LONDON GBR
4085404018650923
02/26 NONTD ATM DEBIT, AUT 622620 DDA WITHDRAW 260.39
RAIL MCR PICC 1 MANCHESTER GBR
4085404018650923
02/26 NONTD ATM FEE, NONTD ATM FEE 3.00
02/26 NONTD ATM FEE, NONTD ATM FEE 3.00
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DBA PUR 131.06
NEW SOUTHERN RAILW HORLEY 9132 GBR
4085404018650923
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DDA PUR 78.74
NEW SOUTHERN RAILW GATWICK 5989 GBR
408540401 8650923
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DDA PUR 87.43
HOTELSCOM9200204265616 HOTELSCOM *WA
4085404018650923

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bark Deposits FDIC Insured | TG Bank, N.A.| Equal Housing Lender [Sy]

 
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Bank

America’s Most Convenient Bank®

 

JURAVIN INCORPORATED
Page:

Statement Period:

Cust Ref #:

Primary Account #:

STATEMENT OF ACCOUNT

4of4

Feb 01 2020-Feb 29 2020

4345480802-7 13-E-***
434-5480802

 

DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)

 

 

 

POSTING DATE DESCRIPTION AMOUNT
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DDA PUR 44.08
NATIVE MANCHESTER MANCHESTER GBR
4085404018650923
02/27 ’ DEBIT CARD PURCHASE, AUT 022620 VISA BDA PUR 43.12
NATIVE MANCHESTER MANCHESTER GBR
4085404018650923
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DDA PUR 6.77
AVANTI CATERING BIRMINGHAM GBR
4085404018650923
02/27 DEBIT CARD PURCHASE, AUT 022620 VISA DDA PUR 5.71
DELICE DE FRANCE LONDON G BR
4085404018650923
02/28 DEBIT CARD PURCHASE, AUT 022720 VISA DDA PUR 84,74
SAMS CHOP SHOP LANCS GBR
4085404018650923
02/28 DEBIT CARD PURCHASE, AUT 022720 VISA DDA PUR 55.68
NATIVE MANCHESTER MANCHESTER GBR
40854040 18650923
Subtotal: 21,504.65
Service Charges
POSTING DATE DESCRIPTION AMOUNT
02/28 MAINTENANCE FEE 10.06
Subtotal: 40.00
DAILY BALANCE SUMMARY .
DATE BALANCE DATE BALANCE
01/34 2,501.08 02/20 5,015.68
02/03 501.08 02/21 2,457.50
02/05 20,501.08 02/24 2,235.84
02/07 5,451.08 02/26 1,513.76
02/13 5,399.25 02/27 1,268.70
02/14 5,295.52 02/28 3,616.28
02/48 §,097.59

Gall 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TO Sank, N.A.| Equak Housing Lender Tay

 
